                         UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

                                   NO. 5:19-CR-00395-D4

UNITED STATES OF AMERICA


                                                   --~-
    V.                                                    ORDER
DAMION JACKSON



      DEFENDANT'S MOTION TO FILE UNDER SEAL having come before this Court; and

for good cause appearing, is granted

      SO ORDERED.

      This the 1.8__ day   of.6o.pkMk..u , 2020.


                                 ONRABLE DISTRICT couRT mDGE JAMES-c. DEVER




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